     EFILED 11/29/23 03:46 PM CASE NO. 23C2784 Joseph P. Day, Clerk




         IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                                    AT NASHVILLE


PATRICIA       STAGGS and spouse                 )




CHARLES STAGGS,                                  )




                                                 )




         Plaintiffs,                             )




                                                 )




Ve                                               )
                                                           CASE NO.
                                                 )




PANDA EXPRESS,INC, PANDA                     )




RESTAURANTGROUP, INC.,                       )
                                                           JURY DEMAND
and RB RIVERGATE, LLC,                       )




                                             )




         Defendants.                         )




                                      COMPLAINT

         Comenow Plaintiffs, by and through undersignedcounsel,and would respectfully

submit to the Court the following Complaint:

         1.      Plaintiffs Patricia Staggs and her spouse Charles Staggsare residents of

the Stateof Tennessee,residing in Davidson County.

         2.      Defendant Panda Express, Inc. is a foreign, for-profit corporation doing

business in Davidson County, Tennessee, with its principal address at 1683 Walnut

Avenue, Rosemead,CA 91770-3711and a businesslocation at 2155 Gallatin Pike N,

Madison, TN 37115. Defendant Panda Express, Inc. may be served through its registered

agentfor service of process,CT Corporation System, 300 Montvue Rd, Knoxville, TN

37919.

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                 Defendant Panda Restaurant Group, Inc. is a foreign, for-profit

corporation doing business in Davidson County, Tennessee,with its principal address at

1683 Walnut Avenue, Rosemead,CA 91770-3711 and a business location at 2155

Gallatin Pike N, Madison, TN 37115. Defendant Panda Express, Inc. may be             Lm
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Case 3:24-cv-00010         Document 1-1              Filed 01/04/24   Page 1 of 5 PageID #: 4
   EFILED 11/29/23 03:46 PM CASE NO. 23C2784 Joseph P. Day, Clerk




through lts regIstered agent for servrce ol process, C-1-CorporatIon System, 3UUMontvue

Rd, Knoxville,TN 37919.

       4.      DefendantRB Rivergate,LLC is a domesticlimited liability company

doing businessin Davidson County, Tennessee,with its principal addressat 810 7th

Avenue, Floor 10, New York, NY 10019-5887. Defendant RB Rivergate, LLC may be

servedthrough its registered agent for service of process, Corporation Service Company,

2908PostonAvenue,Nashville,TN 37203.

       5.      This Complaintconcernsan incident on May 25, 2023, in which Plaintiff

Patricia Staggsfell and was injured on the Defendants’ premises at the Panda Express

restaurantlocated at 2155 Gallatin Pike N, Madison, TN 37115 in Davidson County,

Tennessee

       6.      The amount in controversy is a fair, just, and equitable amount to be

decided by the trier of fact after hearing all of the evidence at trial. Pursuant to Term. R.

Civ. P. 8.01 and 15.02, the amount awarded by the trier of fact shall not exceed

$250,000.00 for compensatory damages and $250,000.00 for punitive damages to

Plaintiff Patricia Staggs, nor shall the amount awarded by the trier of fact exceed

§75,000.00 for loss of consortium to Plaintiff Charles Staggs.

       7.      On or aboutMay 25, 2023, Plaintiff Patricia Staggswas causedto trip and

fall in a hole located directly in front of the front doors of the Defendant(s)’ premises.

       8.      The hole in the walkway/parking lot represented an unreasonably

dangeroushazard which the Defendant(s) failed to prevent, repair, correct, warn about, or

otherwise make safe to customers and other invitees on the premises.




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Case 3:24-cv-00010         Document 1-1           Filed 01/04/24   Page 2 of 5 PageID #: 5
    EFILED 11/29/23 03:46 PM CASE NO. 23C2784 Joseph P. Day, Clerk




       9.      Defendant(s) were negligent in that they knew or should have known that

the hole in the walkway/parkinglot was in need of maintenanceand createdan

unreasonably dangerous hazard on the premises. The Defendant(s) failed to take the

necessarysteps to correct the unreasonably dangerous condition.

       10.     Defendant(s)
                         were negligent,reckless,actedin such a way that was

grossly negligent, and/or showed a wanton disregard to the duties owed to and for the

safety of Plaintiffs in that they failed to reasonably, properly, and timely inspect the

premises to discover said unreasonably dangerous condition and failed to correct it in a

timely manner.

       11.     Through the exercise of ordinary care, Defendant(s) knew or should have

known of the unsafecondition of the hole in front of the walkway/parking lot and should

have correctedthe condition before Plaintiff Patricia Staggs’s injury, and the condition

existed long enough that the Defendant(s), using ordinary care, should have discovered

and corrected the unsafe condition even if it/they did not have actual knowledge.

       12.     Defendant(s)were negligent, grossly negligent, reckless, and acted with

wanton disregard in that they failed to notify, caution, or warn Plaintiff Patricia Staggs of

the unreasonablydangerouscondition existing on the premises.

       13.     Defendant(s)were negligent, grossly negligent, reckless,and showed a

wanton disregard to the Plaintiffs in that they failed to supervise and train its employees

adequatelyto notice, identify, recognize, correct, inspect, or properly warn customers of

the unreasonablydangeroushazard.




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Case 3:24-cv-00010         Document 1-1          Filed 01/04/24    Page 3 of 5 PageID #: 6
    EFILED 11/29/23 03:46 PM CASE NO. 23C2784 Joseph P. Day, Clerk




       14.     As a result of her fall, which was causedby the Defendants’ negligence,

gross negligence, recklessness, and wanton disregard, Plaintiff Patricia Staggs sustained

seriousbodily injuries.

        15.    The negligence, gross negligence, recklessness,and wanton disregard of

the Defendant(s) as set out above was the sole proximate cause of the personal injuries

suffered by the Plaintiff Patricia Staggs.

        16.    As a proximate result of the Defendants’ negligence, gross negligence,

recklessness,and wanton disregard, Plaintiff Patricia Staggs received medical

examination, evaluations, and treatment for injuries caused by the Defendant(s). Such

injuries havegreatly hinderedthe life of the Plaintiffs.


        17.    As a direct and proximate result of one or more acts of negligence, gross

negligence, recklessness, and wanton disregard of the Defendant(s), Plaintiff Patricia

Staggs suffered and continues to suffer injuries and damages as follows: past and future

pain and suffering, past and future medical expenses,past and future lost wages and lost

earning capacity, permanentimpairment, disfigurement, lost enjoyment of life, and loss

of enjoyment of certain employment, social and recreational activities.

        18.    Plaintiff Charles Staggs alleges that as a direct and proximate result of the

Defendants’ negligence, gross negligence, recklessness, and wanton disregard, the

Plaintiff Charles Staggs suffered a loss of the companionship, society, and affection

usually enjoyed in the marital relationship, thus resulting in a loss of consortium.

        19.    As a result of the injuries suffered by the Plaintiffs, the Defendant(s) are

liable to the Plaintiffs for the aforementioned losses.




                                              4

Case 3:24-cv-00010         Document 1-1           Filed 01/04/24   Page 4 of 5 PageID #: 7
   EFILED 11/29/23 03:46 PM CASE NO. 23C2784 Joseph P. Day, Clerk




       20.     As a result of the injuries suffered and damagesincurred by the Plaintiffs,

the Defendants are liable to the Plaintiffs for the aforementioned losses.




              PREMISES CONSIDERED, THE PLAINTIFFS PRAY:

       1.      That process issue and the Defendant(s) be required to respond under the

TennesseeRules of Civil Procedure.

       2.      That the Plaintiffs be awardeda sum to be proven at the time of trial for

damages caused by the Defendant(s), but not to exceed $250,000.00 in compensatory

damages for Patricia Staggs, $250,000.00 in punitive damages for Patricia Staggs, and

$75,000.00 in compensatory damages for Charles Staggs.

       3.      That the cost of this action be taxed to the Defendant(s).

       4.      For such other, further and generalrelief which may be deemedby this

Honorable Court to be appropriate.




                                      Respectfully submitted,




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Case 3:24-cv-00010         Document 1-1       Filed 01/04/24      Page 5 of 5 PageID #: 8
